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ease 1 1 C y ABRAHAM R. WAGNER

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Los ANGELES, CA 90067

October 15, 2014

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U.S. District Court, Northern District of Illinois c
United States Courthouse F l L E D
219 South Dearborn Street

chicago, iL 60604 007 2 0 2014 Y M

ON
Re: Case Number: 1:14-cr-00390 CLERTH%M£SD\GS`I;.|;IR:;COURT

Your assistance in making corrections to the docket entry for my appearance pro
hac vice is appreciated `

As discussed, there is one additional correction I Wish to make, in that l am
entering my appearance on behalf of the United States of America, and not Defendant
]ohnson. Here We anticipate filing a motion for leave to file, and a brief amicus curiae in
this matter in support of the Government. The brief Will be filed on behalf of Dr. Edythe
London and 17 other medical researchers Who have been the Victirns of animal rights
terrorists. Please excuse any typographical error I may have made in the on-line filing.

ARW:jdr

 

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